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 3310. Anti-Money Laundering Compliance Program
      Each member shall develop and implement a written anti-money laundering program reasonably designed to achieve
 and monitor the member's compliance with the requirements of the Bank Secrecy Act (31 U.S.C. 5311, et seq.), and the
 implementing regulations promulgated thereunder by the Department of the Treasury. Each member's anti-money
 laundering program must be approved, in writing, by a member of senior management. The anti-money laundering
 programs required by this Rule shall, at a minimum,

       (a) Establish and implement policies and procedures that can be reasonably expected to detect and cause the
 reporting of transactions required under 31 U.S.C. 5318(g) and the implementing regulations thereunder;


       (b) Establish and implement policies, procedures, and internal controls reasonably designed to achieve compliance
 with the Bank Secrecy Act and the implementing regulations thereunder;


       (c) Provide for annual (on a calendar-year basis) independent testing for compliance to be conducted by member
 personnel or by a qualified outside party, unless the member does not execute transactions for customers or otherwise hold
 customer accounts or act as an introducing broker with respect to customer accounts (e.g., engages solely in proprietary
 trading or conducts business only with other broker-dealers), in which case such "independent testing" is required every
 two years (on a calendar-year basis);


        (d) Designate and identify to FINRA (by name, title, mailing address, e-mail address, telephone number, and facsimile
 number) an individual or individuals responsible for implementing and monitoring the day-to-day operations and internal
 controls of the program (such individual or individuals must be an associated person of the member) and provide prompt
 notification to FINRA regarding any change in such designation(s); and


      (e) Provide ongoing training for appropriate personnel.



 • • • Supplementary Material: --------------

 .01 Independent Testing Requirements

      (a) All members should undertake more frequent testing than required if circumstances warrant.

      (b) Independent testing, pursuant to Rule 3310(c), must be conducted by a designated person with a working
 knowledge of applicable requirements under the Bank Secrecy Act and its implementing regulations.

      (c) Independent testing may not be conducted by:

            (1) a person who performs the functions being tested,

            (2) the designated anti-money laundering compliance person, or

            (3) a person who reports to a person described in either subparagraphs (1) or (2) above.

 .02 Review of Anti-Money Laundering Compliance Person Information

     Each member must identify, review, and, if necessary, update the information regarding its anti-money laundering
 compliance person designated pursuant to Rule 3310(d) in the manner prescribed by Rule 4517.

  Amended by SR-FINRA-2015-004 eff. Feb. 12, 2015.
  Amended by SR-FINRA-2009-039 eff. Jan. 1, 2010.
  Amended by SR-NASD-2007-034 eff. Dec. 31, 2007.
  Amended by SR-NASD-2005-066 eff. Mar. 6, 2006.




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  Amended by SR-NASD-2002-146 eff. Oct. 22, 2002.
  Adopted by SR-NASD-2002-24 eff. April 24, 2002.

  Selected Notices: 02-21, 02-50, 02-78, 02-80, 03-34, 06-07, 07-42, 09-60.

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 2010. Standards of Commercial Honor and Principles of Trade
       A member, in the conduct of its business, shall observe high standards of commercial honor and just and equitable
 principles of trade.

 Cross References–

 1122, Filing of Misleading Information as to Membership or Registration
 IM-1000-3, Failure to Register Personnel
 2111, Suitability
 2121.01, Mark-Up Policy
 2342, "Breakpoint" Sales
 5130, Restrictions on the Purchase and Sale of Initial Equity Public Offerings
 5210, Publication of Transactions and Quotations
 5220, Offers at stated Prices
 5270, Front Running of Block Transactions
 5320. Prohibition Against Trading Ahead of Customer Orders
 IM-10100, Failure to Act Under Provisions of Code of Arbitration Procedure
 IM-11110, Refusal to Abide by Rulings of the Committee

  Amended by SR-FINRA-2008-028 eff. Dec. 15, 2008.
  Amended by SR-NASD-2005-087 eff. Aug. 1, 2006

  Selected Notices: 96-44, 08-57.

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